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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION


CRIMINAL NO. 10-50067-002 and
             11-50001-001                USA v. JASON FEDELE

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. KYRA JENNER

Clerk: GAIL GARNER                       Deft. SHANNON BLATT

Reporter: THERESA SAWYER


                         SENTENCING MINUTE SHEET

     On this date the above-named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)  Inquiry made that defendant is not under influence of
           alcohol or drugs and is able to comprehend proceedings.
      (X) Inquiry made whether defendant is under the care of a
           physician or taking any medication and is able to
           comprehend proceedings.
      (X) Inquiry made that defendant is satisfied with counsel.
      (X) Court determined that defendant and counsel have had
           opportunity to read and discuss presentence investigation
           report.
      (X) Presentence investigation reports reviewed in open court.
      (X) Counsel for defendant withdraws objections 3, 4, and
           5 in 10-50067-002 in open court.
      (X) Government moves for downward departure pursuant to
           5K1.1 in case no. 10-50067-002 - granted, 1 level.
      (X) Government moves for downward departure pursuant to
           5K1.1 in case no. 11-50001-001 - granted, 1 level.
      (X) Court expresses final approval of plea agreements.
      (X) Attorney for government afforded opportunity to make
           statement to court.
      (X) Counsel for defendant afforded opportunity to speak on
           behalf of defendant.
      (X) Defendant afforded opportunity to make statement and
           present information in mitigation of sentence.
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Criminal Nos. 10-50067-002 and 11-50001-001

      (X)   Court proceeded to impose sentence as follows:

            In 10-50067-002; 33 months imprisonment on
            each count, to run concurrently; 3 years supervised
            release on each count, to run concurrently; $4,000.00
            fine imposed - interest waived.

            In 11-50001-001; 33 months imprisonment to run
            consecutive to term imposed in 10-50067-002;
            3 years supervised release to run concurrently
            to term imposed in 10-50067-002; $5,000.00 fine
            - interest waived.

      (X)   Defendant ordered to comply with standard conditions
            of supervised release.
      (X)   Defendant is ordered to comply with the following
            special conditions:

            Do not incur new debt or establish any bank or
            credit accounts without approval of USPO. Make
            financial information available to USPO upon
            request.

            Submit to substance abuse testing/treatment
            as directed by USPO.

      (X)   Defendant ordered to pay total special assessment of
            $300.00 for counts 1 and 2 in 10-50067-002 and
            count 1 in 11-50001-001, which shall be due immediately.
      (X)   Counts 3 and 4 in 10-50067-002 are dismissed on
            motion by the government.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Defendant remanded to custody of the USMS.



DATE: JULY 6, 2011                       Proceeding began:        9:45 am

                                                        ended: 11:01 am
